       Case 2:21-cv-01530-AMM Document 80 Filed 12/23/21 Page 1 of 20                 FILED
                                                                             2021 Dec-23 PM 04:07
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION



EVAN MILLIGAN, et al.,

             Plaintiffs,
                                                 No. 2:21-cv-01530-AMM
             vs.

JOHN H. MERRILL, et al.,

             Defendants.


BOBBY SINGLETON, et al.,

             Plaintiffs,
                                                 No. 2:21-cv-01291-AMM
             vs.

JOHN H. MERRILL, et al.,

             Defendants.



                           JOINT PRETRIAL REPORT

      The Milligan Plaintiffs, Singleton Plaintiffs, and Defendants Merrill,

McClendon, and Pringle (the “Parties”) hereby submit the following joint pretrial

report as ordered by the Court on November 23.
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I.    List of Witnesses Deposed

      The following three witnesses were deposed during the pre-hearing discovery

period:

            • Randy Hinaman

            • Sen. James McClendon

            • Rep. Chris Pringle

II.   List of Live Witnesses for Preliminary Injunction Hearing

      The list provided below sets out the witnesses that the parties currently are

likely to call for live testimony during the hearing. The chart also designates whether

the witness serves as a fact or expert witness, and the party or parties who intend to

call the witness. The Parties reserve the right to call witnesses or introduce exhibits

listed by other parties.

                           Witnesses the Parties will Call
 Witness                            Type            Party/Parties calling
 Evan Milligan                      Fact            Milligan Plaintiffs
 Shalela Dowdy                      Fact            Milligan Plaintiffs
 Dr. Kosuke Imai                    Expert          Milligan Plaintiffs
 Dr. Ryan Williamson                Expert          Milligan Plaintiffs
 Dr. Moon Duchin                    Expert          Milligan Plaintiffs
 Dr. Baodong Liu                    Expert          Milligan Plaintiffs
 Dr. Joseph Bagley                  Expert          Milligan Plaintiffs
 Dr. Natalie Davis                  Expert          Singleton Plaintiffs
 Bobby Singleton                    Fact            Singleton Plaintiffs
 Randy Hinaman                      Fact            Defendants
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 Rep. Chris Pringle                  Fact         Defendants
 Sen. Jim McClendon                  Fact         Defendants
 Dr. M.V. Hood III                   Expert       Defendants
 Thomas Bryan                        Expert       Defendants
                      List of Witnesses the Parties May Call
 Randy Hinaman                       Fact         Milligan Plaintiffs
 Rep. Chris Pringle                  Fact         Milligan Plaintiffs
 Sen. Jim McClendon                  Fact         Milligan Plaintiffs
 Bradley Byrne                       Fact         Defendants
 Jo Bonner                           Fact         Defendants
 Mary McIntyre, M.D.                 Fact         Defendants
 Clay Helms                          Fact         Defendants/Milligan Plaintiffs
 Jim Blacksher                       Fact         Singleton Plaintiffs
 Rodger Smitherman                   Fact         Singleton Plaintiffs
 Eddie Billingsley                   Fact         Singleton Plaintiffs
 Leonette Slay                       Fact         Singleton Plaintiffs
 Darryl Andrews                      Fact         Singleton Plaintiffs
 Andrew Walker                       Fact         Singleton Plaintiffs


III.   List of Stipulated Exhibits

       The Parties hereby stipulate to the admission of the following exhibits. This

list does not include any exhibits the propounding party intends to use solely as a

demonstrative or for impeachment purposes and for which they do not intend to seek

admission into evidence.

 Exh. #      Description                                  Bates/ECF Doc #
 1           Expert Report of Kosuke Imai                 68-4
 2           Expert Report of Ryan Williamson             68-3
 3           Expert Report of Moon Duchin                 68-5
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4       Expert Report of Baodong Liu                   68-1
5       Expert Report of Joseph Bagley                 68-2
6       Rebuttal Report of Kosuke Imai                 76-3
7       Rebuttal Report of Moon Duchin                 76-4
8       Rebuttal Report of Baodong Liu                 76-1
9       Rebuttal Report of Joseph Bagley               76-2
10      Congressional District Comparison              RC 000002
        2011/2021
11      Transcript of Randy Hinaman Deposition &       N/A
        exhibits
12      Transcript of Rep. Pringle Deposition &        N/A
        exhibits
13      Transcript of Sen. McClendon Deposition &      N/A
        exhibits
14      Declaration of Scott Douglas                   70-3
15      Declaration of Benard Simelton                 70-4
16      Declaration of Shalela Dowdy                   70-5
17      Declaration of Evan Milligan                   70-6
18      Declaration of Letetia Jackson                 70-7
19      Transcript of Oct. 26, 2021 Hearing of         70-8
        Reapportionment Committee
20      Declaration of Sen. Laura Hall                 70-9
21      2011 Alabama congressional district map        N/A
22      2021 Alabama congressional plan map            RC 000553
23      2021 Alabama congressional plan map book       RC 000556
24      2021 Reapportionment Public Hearings list      N/A
25      Ala. HB 621 (May 2011)                         SOS000076
26      2011 Legislative Reapportionment Comm.         SOS002410
        Guidelines
27      2021 Proposed Reapportionment Comm.            RC 044470
        Guidelines comparison handout
28      2021 Reapportionment Comm. Redistricting       RC 044593
        Guidelines
29      Talking Points for Likely Issues               RC 045524
30      Proposed Ala. Senate Districts Functionality   RC 044600
        Examination
31      “House approves congressional                  SOS001921
        redistricting plan,” Montgomery Advertiser
        (6/2/2011)
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32      June 29, 2021 email from Rep. Hall to D.    RC 045712-14
        Overton
33      Decl. of Randy Hinaman from ALBC case       Hinaman Dep. Ex. 4
34      Congressional plans introduced in 2021      RC 000007
        special session
35      Exhibit M-1 to William Cooper expert        Caster, ECF No. 48-46
        report in Caster v. Merrill, No. 2:21-cv-
        01536-AMM
36      Exhibit M-2 to Cooper report in Caster      Caster, ECF No. 48-47
37      Exhibit N-1 to Cooper report in Caster      Caster, ECF No. 48-48
38      Exhibit N-2 to Cooper report in Caster      Caster, ECF No. 48-49
39      Exhibit O-1 to Cooper report in Caster      Caster, ECF No. 48-50
40      Exhibit O-2 to Cooper report in Caster      Caster, ECF No. 48-51
41      Exhibit P-1 to Cooper report in Caster      Caster, ECF No. 48-52
42      Exhibit P-2 to Cooper report in Caster      Caster, ECF No. 48-53
43      Exhibit Q-1 to Cooper report in Caster      Caster, ECF No. 48-54
44      Exhibit Q-2 to Cooper report in Caster      Caster, ECF No. 48-55
45      Exhibit R-1 to Cooper report in Caster      Caster, ECF No. 48-56
46      Exhibit R-2 to Cooper report in Caster      Caster, ECF No. 48-57
47      Stipulations of Fact                        ECF No. 47
48      Natalie Davis Report                        ECF No. 56-1
49      Natalie Davis Rebuttal Report               ECF No. 60-1
50      Alabama State House Hearing Transcript      RC 044681
51      Coastal Alabama Community College–          RC 044818
        Fairhope Hearing Transcript
52      Gadsden State Community College (Ayers)     RC 044990
        Hearing Transcript
53      Jefferson State Community College–Hoover    RC 045074
        Hearing Transcript
54      Lawson State Community College Hearing      RC 045111
        Transcript
55      Lurleen B. Wallace Community College        RC 045156
        Hearing Transcript
56      Northeast Alabama Community College
        Hearing Transcript
57      Northwest Shoals Community College          RC 045231
        Hearing Transcript
58      All Alabama Congressional Maps              ECF No. 57-7
59      Enacted 2021 Plan Map (Letter Size)         RC 000554
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60      Enacted 2021 Plan Population Summary            RC 000649
61      Enacted 2021 Plan Population Summary            RC 000651
        (AP)
62      Enacted 2021 Plan Population Summary            RC 000652
        (VAP)
63      Enacted 2021 Plan District Statistics           RC 000537
64      Enacted 2021 Plan Communities of Interest       RC 000372
        Splits
65      Jefferson D7 Precincts
66      MGM D7 Precincts
67      Tuscaloosa D7 Precincts
68      Singleton Plan 1 Map (Large)                    RC 022544
69      Singleton Plan 1 Communities of Interest        RC 022393
        Splits
70      Singleton Plan 2 (Smaller Deviation)            RC 026273 (PDF)
        Equivalency File
71      Singleton Plan 2 Map (Letter Size)              RC 030932
72      Singleton Plan 2 Population Summary             RC 030982
73      Singleton Plan 2 District Statistics            RC 030925
74      Singleton Plan 2 Communities of Interest        RC 030745
        Splits
75      Singleton Plan 3 (Zero Deviation)               RC 034944 (PDF)
        Equivalency File
76      Singleton Plan 3 Population Summary (AP)        RC 039227
77      Singleton Plan 3 District Statistics            RC 039137
78      Singleton Plan 3 Communities of Interest        RC 038970
        Splits
79      Coleman Plan 1 Communities of Interest          RC 009238
        Splits
80      Hatcher Plan 1 Communities of Interest          RC 018041
        Splits
81      2002 Preclearance Submission (Without           RC 043723–34
        Exhibits)
82      2011 Preclearance Submission (Without           ECF Nos. 113-87 and
        Exhibits)                                       113-88, No. 18-cv-907
                                                        (N.D. Ala.)
83      Secretary of State Merrill’s Pre-Trial Brief,   ECF No. 101, No. 18-cv-
        Chestnut v. Merrill                             907 (N.D. Ala.)
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84       Defendant’s Exhibit 001, Chestnut v.          ECF No. 114-1, No. 18-
         Merrill (Congressional Maps)                  cv-907 (N.D. Ala.)
85       Trey Hood Report, Chestnut v. Merrill         ECF No. 114-7, No. 18-
                                                       cv-907 (N.D. Ala.)
86       May 2021 Whole County Plan Draft
87       Thomas M. Bryan – Singleton Report
88       Thomas M. Bryan – Milligan Report
89       Thomas M. Bryan CV
90       Thomas M. Bryan Supplemental Report –
         Final
91       M.V. Hood III Expert Report
92       M.V. Hood III Supplemental Report – Final
93       Clay Helms Declaration
94       Mary McIntyre Declaration (12.20.21)
95       Declaration of Josiah Bonner, Jr.
96       Evans Letter to DOJ 4.15.1992 SOS007081
97       Evans letter to DOJ 3.10.1992 SOS007085
98       Evans Letter to Justice Dept. 3.10.1992,
         Section 5 Submission by State of Alabama
         SOS007070
99       Evans Letter to Justice Dept. 3.10.1992,
         Section 5 Submission by State of Alabama
         SOS007070 Part 2
100      DOJ Letter to Jimmy Evans 3.27.1992
         SOS007071
101      Kathleen L. Wilde fax to John Tanner of the
         DOJ 3.25.1992 SOS007079
102      Letter to DOJ re Preclearance Submission
         of Al. Act. No. 2011-518 SOS002646
103      2001 Alabama State Board of Education
         Districts
104      2010 Allen Congressional Plan 4
         SOS001466
105      2011 Preclearance Allen Plan 6 SOS001551
106      2011 Preclearance Beason Plan SOS001565
107      2011 Preclearance bpshan SOS001448
108      2011 Preclearance Buskey Congressional
         Plan SOS001621
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109      2011 Preclearance Hammon All District
         Status SOS001579
110      2011 Preclearance Map McClendon
         Congressional Plan 1 - Map-0SOS001431
111      2011 Preclearance McClendon
         Congressional Plan 1 SOS001593
112      2011 Preclearance Poole Congressional
         Plan 4 SOS001607
113      2011 Preclearance Population Summary
         Report State 1 SOS001537
114      2011 Plan - 2 - Population and VAP
         Summary - Single Race
115      2011 Plan - 3 - Population and VAP
         Summary - Any Part Race
116      2011 Plan - 4 - Plan Components'
         Population and VAP - Any Part Race
117      2011 Plan - 5 - Plan Components'
         Population and VAP - Single Race
118      2011 Plan - 6 - County and Voting Districts
         Splits
119      2011 Preclearance Population Summary
         Report Allen SOS001635
120      2011 Preclearance Population Summary
         Report McClammy SOS001509
121      2011 Preclearance Population Summary
         Report SOS001649
122      2020 Democratic Runoff
123      2020-03 Certification AL Democratic Party
         Primary Runoff Candidates 2020-03-11
124      2021-10-25 2021 2nd Special Session
         Proclamation
125      2021 Alabama Congressional Plan Bill
         History with Recorded Votes
126      2021 Redistricting Plans Comparative by
         District Analysis Congressional
127      2021 Plan - 1 - Map
128      2021 Plan - 2 - District Statistics
129      2021 Plan - 3 - Population Summary -
         Single Race
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130      2021 Plan - 4 - VAP Summary - Single
         Race
131      2021 Plan - 5 - Population Summary - Any
         Part Race
132      2021 Plan - 6 - VAP Summary - Any Part
         Race
133      2021 Plan - 7 - Plan Components'
         Population and VAP
134      2021 Plan - 8 - County and Voting District
         Splits
135      2021 Plan - 9 - City Splits
136      2021 Plan - 10 - Reock Compactness
         Measure
137      2021 Plan - 11 - Schwartzberg Compactness
         Measure
138      2021.09.07 Public Hearing Transcript -
         Permanent Legislative Committee On
         Reapportionment (Shelton State -
         Tuscaloosa AL)
139      AL DEM Cert. Amend 12182019
140      Certification of Results June 4, 1996,
         Constitutional Amendments
141      Democratic Party-Official 2020 Primary
         Election Results (1)
142      District Statistics Report Congressional
         Final, May 16
143      Exhibits to Congressional Submission
         SOS002005
144      Final Exhibits - District Statistics Report
         Congressional Final, May 16
145      Hatcher Plan - 1 - Map
146      Hatcher Plan - 2 - District Statistics
147      Hatcher Plan - 3- Population Summary -
         Single Race
148      Hatcher Plan - 4 - VAP Summary - Single
         Race
149      Hatcher Plan - 5- VAP Summary - Any Part
         Race
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150       Hatcher Plan - 6 - Population Summary -
          Any Part Race
151       Hatcher Plan - 7 - Plan Components'
          Population and VAP
152       Hatcher Plan - 8 - County and Voting
          District Splits
153       Hatcher Plan - 9 - City Splits
154       Hatcher Plan - 10 - Reock Compactness
          Measure
155       Hatcher Plan - 11 - Schwartzberg
          Compactness Measure
156       Jones v. Jefferson County – Motion for
          Consent Order (agreed before litigation)
157       Kiani Gardner – CD-1 candidate endorsed
          by ADC
158       Alabama Advisory Committee to U.S.
          Commission on Civil Rights Report (July
          2020)
159       Letter to John Park Jr. 11.21.2011
          SOS000514
160       Letter to John Tanner dated 4.15.1992
161       Liu – Alabama Democrats Candidate list
          2020 Primaries
162       Pierce Map 9.91991 SOS007159
163       Pleasant Grove Settlement Agreement
164       Reapportionment Committee Guidelines for
          Legislative, State Board of Education, and
          Congressional Redistricting State of
          Alabama May 2011
165       Legislative Reapportionment Public
          Hearings_Aug 5
166       Singleton 1 Plan - 1 - Map
167       Singleton 1 Plan - 3 - District Statistics
168       Singleton 1 Plan - 4 - Population Summary -
          Single Race
169       Singleton 1 Plan - 5 - VAP Summary -
          Single Race
170       Singleton 1 Plan - 6 - Population Summary -
          Any Part Race
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171       Singleton 1 Plan - 7 - VAP Summary - Any
          Part Race
172       Singleton 1 Plan - 8 - Plan Components'
          Population and VAP
173       Singleton 1 Plan - 9 - County and Voting
          District Splits
174       Singleton 1 Plan - 10 - City Splits
175       Singleton 1 Plan - 11 - Reock Compactness
          Measure
176       Singleton 1 Plan - 12 - Schwartzberg
          Compactness Measure
177       Singleton 2 Plan - 3 - District Statistics
178       Singleton 2 Plan - 4 - Population Summary -
          Any Part Race
179       Singleton 2 Plan - 5 - VAP Summary - Any
          Part Race
180       Singleton 2 Plan - 6 - Plan Components'
          Population and VAP
181       Singleton 2 Plan - 7 - County and Voting
          District Splits
182       Singleton 2 Plan - 8 - City Splits
183       Singleton 2 Plan - 9 - Reock Compactness
          Measure
184       Singleton 2 Plan - 10 - Schwartzberg
          Compactness Measure
185       Singleton 3 Plan - 1 - Map
186       Singleton 3 Plan - 3 - District Statistics
187       Singleton 3 Plan - 4 - VAP Summary -
          Single Race
188       Singleton 3 Plan - 5 - Population Summary -
          Single Race
189       Singleton 3 Plan - 6 - Population and VAP
          Summary - Any Part Race
190       Singleton 3 Plan - 7 - Plan Components'
          Population and VAP
191       Singleton 3 Plan - 8 - County and Voting
          District Splits
192       Singleton 3 Plan - 9 - City Splits
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 193        Singleton 3 Plan - 10 - Reock Compactness
            Measure
 194        Singleton 3 Plan - 11 - Schwartzberg
            Compactness Measure
 195        DOJ Letter withdrawing objection
 196        Letter to DOJ Feb. 7, 2002, re: Submission
            under Section 5 of the VRA of 65, Ala. Act
            No. 2002-73
 197        Letter to Civil Rights Division re
            Preclearance Submission of Ala. Act. No.
            2011-677 – 1212857 Sept. 21, 2011
 198        US Congress Final District Statistics Report
            SOS001080
 199        2021 Census – Alabama Profile
 200        Democratic_Party-Official 2020 Primary
            Election Results (only CD1 and CD2 results
            others hidden)
 201        Census 2018 Voting and Reg by Race
 202        Census 2016 Voting and Reg by Race
 203        Letter to Justice Dept. 3.10.1992 Section 5
            Submission by State of Alabama Part 1
 204        Letter to Justice Dept. 3.10.1992 Section 5
            Submission by State of Alabama Part 2
 205        Legislative Reapportionment Public
            Hearings_Aug 5
 206        ACS 2019 Data Connecticut
 207        ACS 2019 Data United States
 208        Byrne Declaration


IV.    List of Contested Exhibits

       The following lists the exhibits sought to be introduced by one or more parties

to which another party has objected, with one chart per party. Each chart provides a

description of the exhibit and the ground(s) for the objection. Per the Court’s order,

a copy of all objected-to exhibits will be filed with the Court as attachments. This
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list does not include any exhibits the propounding party intends to use solely as a

demonstrative or for impeachment purposes and for which they do not intend to seek

admission into evidence.

                      Milligan Plaintiffs’ Objected-To Exhibits
                        Exhibit                               Objections
    Transcript of Alabama Senate Floor Debate, Nov. Authenticity
    3, 2021


                         Singleton Plaintiffs’ Objected-To Exhibits
                        Exhibit                                   Objections
    32 - DRA About election data.pdf                  Authenticity; Relevance
    33 - DRA D7 Act 2021-555 map.pdf                  Authenticity; Relevance
    34 - DRA Act 2021-555 plan stats.pdf              Authenticity; Relevance
    42 - DRA Whole County Plan map.pdf                Authenticity; Relevance
    43 - DRA Whole County Plan statistics.pdf         Authenticity; Relevance
    51 - DRA Singleton Congressional Plan 2 map.pdf Authenticity; Relevance
    52 - DRA Singleton Congressional Plan 2           Authenticity; Relevance
    statistics.pdf
    60 - DRA Singleton Congressional Plan 3 map.pdf Authenticity; Relevance
    61- DRA Singleton Congressional Plan 3            Authenticity; Relevance
    statistics.pdf

                             Defendants’ Objected-To Exhibits 1
                       Exhibit                                              Objections
    Bonner Declaration Bonner Deposition                       Improper use of deposition
    Testimony with exhibits - Part 1                           testimony under FRCP
                                                               32(a)(4); Hearsay
    Bonner Declaration Bonner Deposition                       Improper use of deposition
    Testimony with exhibits - Part 2                           testimony under FRCP
                                                               32(a)(4); Hearsay

1
  Objections come from the Milligan Plaintiffs. The Singleton Plaintiffs do not object to the
authenticity or relevance of any of the Defendants’ exhibits. The Singleton Plaintiffs reserve the
right to object if an exhibit is offered for a purpose not permitted by the Federal Rules of Evidence.
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Bonner Declaration Bonner Deposition             Improper use of deposition
Testimony with exhibits - Part 3                 testimony under FRCP
                                                 32(a)(4); Hearsay
Byrne Testimony and Exhibits Part 1              Improper use of deposition
                                                 testimony under FRCP
                                                 32(a)(4); Hearsay
Byrne Testimony and Exhibits Part 2              Improper use of deposition
                                                 testimony under FRCP
                                                 32(a)(4); Hearsay
1991-06-14 Public Hearing Transcript - Joint     Relevance; Hearsay
Legislative Committee on Reapportionment
(Mobile , AL) SOS008654
1991.08.21 Public Hearing Transcript - Joint     Relevance; Hearsay
Legislative Committee on Reapportionment
(Montgomery AL) SOS 007291
1991.10.02 Public Hearing Transcript - Joint     Relevance; Hearsay
Legislative Committee on Reapportionment
(Montgomery AL) SOS007200
1992.03.29 DOJ Objection letter                  Duplicate exhibit
2011 Plan - Alabama v. Holder (DDC)              Relevance
Complaint
2011 Plan – Alabama v. Holder (DDC)              Relevance
Dismissal
2011 Plan - Alabama v. Holder (DDC) DOJ          Relevance
Preclearance
State of Alabama v. Holder Errata to Complaint   Relevance
SOS000172
2020 Annual Report - State Personnel Board       Relevance
Application of Appellant Billy Joe Camp,         Hearsay
Secretary of State of Alabama, for Stay of
Judgment Pending Appeal
SOS002410 Reapportionment Committee              Relevance
Guidelines May 2011
Thompson v. Merrill Alabama Board of Pardons     Relevance, Hearsay
and Paroles Chair Leigh Gwathney’s Objections
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and Answers to Plaintiffs’ First Set of
Interrogatories to Her
Thompson v. Merrill SOS Merrill’s Objections       Relevance, Hearsay
and Answers to Plaintiff’s First Set of
Interrogatories to Him
US election 2020 Why Trump gained support          Relevance, Hearsay
among minorities
Wesch -Supplemental Stipulation                    Relevance
Milligan v. Merrill Deposition Transcript of       Improper use of deposition
Randy Hinaman 2021.12.09 Part 1                    testimony under FRCP
                                                   32(a)(4); Hearsay
Milligan v. Merrill Deposition Transcript of       Improper use of deposition
Randy Hinaman 2021.12.09 Part 2                    testimony under FRCP
                                                   32(a)(4); Hearsay
2000 Population State Board of Education           Relevance, Hearsay
CDC MMWR – Study Showing vaccination by            Hearsay
SVI index
Hispanic Voters Now Evenly Split Between           Relevance, Hearsay
Parties, WSJ Poll Finds
Redistricting Alabama: How South Alabama           Relevance, Hearsay
could be split due to Baldwin County’s growth
Voting Determination Letters for Alabama           Relevance
Felon Voting Rights Final Version
2017.08.09 Alabama Senate Profile – Robert         Relevance, Hearsay
Kennedy Jr. says he’s more than a name
Economic Policy Institute, State unemployment      Hearsay
by race and ethnicity (2021Q3)
Becoming Less Separate                             Rule 106 (completeness)
Defendant's First Evidentiary Submission           Relevance
Randy Hinaman Amended Notice of Deposition         Relevance
120921


V.   Additional Stipulations of Fact

     The Parties do not have any additional factual stipulations to provide.
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Respectfully submitted,             DATED this 23rd day of December 2021.

/s/ Deuel Ross                      /s/ Sidney M. Jackson
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      Case 2:21-cv-01530-AMM Document 80 Filed 12/23/21 Page 17 of 20




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                           CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed a copy of the foregoing with

the Clerk of Court using the CM/ECF system which provides electronic notice of

filing to all counsel of record.

                                             This the 23th day of December 2021.



                                             /s/ Deuel Ross
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